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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN THE MATTER OF THE SEARCH OF
 INFORMATION ASSOCIATED WITH THE
                                                      Magistrate No. 22-mj-392
 CELLULAR TELEPHONE ASSIGNED
 CALL NUMBER (484) 274-9937, THAT IS
                                                      Filed Under Seal
 STORED AT PREMISES CONTROLLED
 BY AT&T CORPORATION

                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, Eddie Garcia II, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.     I make the affidavit in support of an application for a search warrant under Federal

Rule of Criminal Procedure 41 and 18 U.S.C. §§ 2703(c)(1)(A) for information about the

location of the cellular telephone assigned call number (484) 274-9937 (“the Target Cell

Phone”), subscribed to by Mahmoud Ali Ahm Rashwan (“Rashwan”), whose service provider is

AT&T Corporation a wireless telephone service provider headquartered at AT&T Corporation,

11760 U.S. Highway 1, North Palm Beach, FL 33408. The Target Cell Phone is described herein

and in Attachment A, and the location information to be seized is described herein and in

Attachment B.

       2.     Because this warrant seeks the prospective collection of information, including

cell-site location information, that may fall within the statutory definitions of information

collected by a “pen register” and/or “trap and trace device,” see 18 U.S.C. § 3127(3) & (4), the

requested warrant is designed to also comply with the Pen Register Act. See 18 U.S.C. §§ 3131-

3127. The requested warrant therefore includes all the information required to be included in an

order pursuant to that statute. See 18 U.S.C. § 3123(b)(1).




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       3.     I am a Special Agent with the Federal Bureau of Investigation. I have been

employed by the FBI since March 6, 2016, and, as such, I am a federal law enforcement officer

within the meaning of Fed. R. Crim. P. 41(a)(2)(C), that is, a government agent engaged in

enforcing the criminal laws and duly authorized by the Attorney General to request such a

warrant. I am currently assigned to the Allentown Resident Agency of the Philadelphia Division.

Prior to joining the FBI, I was employed as an Immigration Enforcement Agent and Deportation

Officer with the Department of Homeland Security from January 2007 to March 2016. As a

Special Agent, I have received instruction and on the job training in various aspects of law

enforcement. During my employment with the FBI, I have participated in investigations

involving international and domestic terrorism, bank robberies, drug trafficking, financial

institution fraud, human trafficking, and other federal violations. In the course of those

investigations, I have conducted consensual body recordings, employed the use of electronic

surveillance techniques, have executed numerous search and arrest warrants, conducted physical

and electronic surveillance, utilized information from cellular service providers, including

historical cell site and location information, and secured other relevant information utilizing

additional investigative techniques.

       4.     The facts in the affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. The affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about the matter.

       5.     The court has jurisdiction to issue the proposed warrant because it is a “court of

competent jurisdiction” as defined in 18 U.S.C. § 2711. Specifically, the Court is a district court




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of the United States that has jurisdiction over the offense being investigated, see 18 U.S.C. §

2711(3)(A)(i).

       6.     Title 18, United States Code, Section 922(g)((5) states: “it shall be unlawful for

any person…who, being an alien (A) is illegally or unlawfully in the United States; or (B) has

been admitted to the United States under a nonimmigrant visa … to possess in or affecting

commerce, any firearm or ammunition.

       7.     Title 18, United States Code, Section 924(a)(1)(A) makes it a crime for any

individual to knowingly make any false statement or representation with respect to information

required to be kept in the records of a federal firearms licensee. A Firearms Transaction Record,

Form 4473, is information that is required to be kept in the records of a federal firearms licensee.

                                      PROBABLE CAUSE

       8.     Immigration documents show that on December 3, 2017, Rashwan was issued a

Type B1/B2 Visa, NIV (Non-Immigrant Visa) # M718345, in Cairo, with an expiration date of

November 28, 2022. This Visa permitted Rashwan to enter the United States but limited his

stay to a period of six month increments within that time period. On February 4, 2018, Rashwan

was admitted to the United States as a B-2 Visitor which allowed him to remain in the United

States until August 3, 2018. Rashwan traveled to the United States on an Egyptian passport that

was issued on July 25, 2016, with an expiration date of July 24, 2023. Rashwan’s passport

identifies him as an Egyptian national.

       9.     On August 23, 2018, Rashwan completed an application an Application for

Asylum and Withholding of Removal, which was stamped as received by the Department of

Homeland Security, U.S. Citizenship and Immigration Services, on August 27, 2018. On

October 22, 2018, Rashwan interviewed by an Asylum Officer, and on October 30, 2018, the




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Asylum Officer denied Rashwan’s Application for Asylum and Withholding of Removal and

referred his denial to an Immigration Judge.

       10.     On November 2, 2018, the Department of Homeland Security issued a Form I-862,

Notice to Appear in removal proceedings under section 240 of the Immigration and Nationality

Act, also known as the “charging document.” Rashwan’s address on the Notice to Appear was

2391 Fernor Street, Apt. B-18, Allentown, PA 18103, and his area code and phone number was

484-274-9937. The Notice to Appear states that Rashwan had been admitted to the United

States, but was removable for the following reasons alleged by the Department of Homeland

Security: (1) he was not a citizen or national of the United States; (2) he was a native of Egypt

and a citizen of Egypt; (3) he was admitted to the United States at Charlotte, NC on or about

February 4, 2018, as a nonimmigrant B-2 with authorization to remain in the United States for a

temporary period not to exceed August 3, 2018; and (4) he remained in the United States beyond

August 3, 2018, without authorization from the Immigration and Naturalization Service or its

successor the Department of Homeland Security. The Notice to Appear states that “[o]n the

basis of the foregoing, it is charged that you are subject to removal from the United States

pursuant to the following provision(s) of law: Section 237(a)(1)(b) of the Immigration and

Nationality Act (Act), as amended, in that after admission as a nonimmigrant under Section

101(a)(15) of the Act, you have remained in the United States for a time longer than permitted.”

The Notice to Appear requires Rashwan to appear before an immigration judge of the United

States Department of Justice at 900 Market Street, Philadelphia, PA 19107, on November 28,

2018, at 9:30, to show why he should not be removed from the United States. On November 5,

2018, Rashwan signed a Certificate of Service indicating that he was personally served with the




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Notice to Appear. The Removal Hearing date was subsequently postponed from November 28,

2018, until April 10, 2019.

        11.     Accompanying the Notice to Appear, and dated November 5, 2018, was a Referral

Notice informing Rashwan that the U.S. Citizenship and Immigration Services (“USCIS”)

denied his application for asylum after a finding that his claim was not credible. Rashwan was

informed that his asylum application was referred to an immigration judge for adjudication in

removal proceedings. The letter said that “this is not a denial of your asylum application,” and

that the immigration judge would evaluate his asylum claim independently and was not required

to rely on or follow the decision made by USCIS. The Referral Notice also informed Rashwan

that because he was in removal proceedings, he must notify the Immigration Court within five

days of any change of address, and that he was subject to a 150-day waiting period before he

could apply for employment authorization, and an additional 30 days before employment

authorization could be approved, for a total of 180 days. Because less than 150 days had elapsed

since Rashwan first filed his asylum application, the Referral Notice stated that he was not

eligible to apply for employment authorization until January 24, 2019.

        12.     On April 10, 2019, the Department of Homeland Security issued a Notice of

Hearing in Removal Proceedings to Rashwan, 2931 Fernor Street, Apt. B18, Allentown, PA

18103, to appear before the Immigration Court, 900 Market Street, Suite 504, Philadelphia, PA

19107, for a Master/Individual Hearing on May 24, 2022, at 9:00 a.m. The Certificate of Service

attached to the Notice indicates that Rashwan was personally served with the Notice on April 10,

2019.

        13.     On June 20, 2019, Rashwan completed an Application for Employment

Authorization. In that Application, Rashwan stated that his immigration status when he arrived




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in the United States was as a B-2 visitor. He indicated that his current immigration status was as

a B-2 overstay.

       14.     On July 17, 2019, Rashwan was issued an Employment Authorization Card which

was valid until July 16, 2021. The card states, “NOT VALID FOR RENTRY TO THE UNITED

STATES.”

       15.     On February 25, 2021, Rashwan completed another Application for Employment

Authorization. In that Application, Rashwan stated that his immigration status was as a B-2

visitor, and that his current immigration status was “No Status.”

       16.     Beginning on approximately February 14, 2021, Rashwan began frequenting the

Heritage Guild of Easton Firing Range (Heritage Guild), located in Easton, PA. A receipt

obtained from Heritage Guild shows that on May 30, 2021, at 1:30:22 p.m.,,Rashwan purchased

ammunition, range rental time, ear and eye protective gear rental, and firearm rental, for $105.46

that was charged to his debit card. On June 2, 2021, at 2:03:05 p.m., a receipt from Heritage

Guild of Easton shows that Rashwan charged a firearm rental, range time, ammunition, and ear

and eye protective gear hear to his debit card in the amount of $65.98. On June 25, 2021, at

approximately 1:24:49 p.m., a receipt from Heritage Guild of Easton shows that Rashwan

charged firearm rental, range time, ammunition, and ear and eye protective gear, for a total

amount of $67.04, which Rashwan charged to his debit card.

       17.     A receipt obtained from Heritage Guild of Easton, dated February 14, 2022,

1:53:12 p.m., shows three firearm rentals, and one long gun rental, ear and eye protection gear

rental, a Valentine’s Day target, and ammunition, for a total amount of $200.57. A separate

receipt on February 14, 2022, 3:07:34 p.m., shows an ammunition purchase in which Rashwan

exchanged one type of ammunition for another, for a 0.00 transaction. Another receipt on




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February 14, 2022, at 3:27:55 p.m., shows that Rashwan purchased additional ammunition for

$9.80, after applying a $1.85 gift credit. These transactions were all paid from Rashwan’s debit

card.

        18.     On February 26, 2022, Rashwan completed a Bureau of Alcohol, Tobacco,

Firearms and Explosives, Firearms Transaction Record, Form 4473, to complete the purchase of

a Ruger, Model AR556, Serial Number 83996627, rifle, caliber 556, at a gun show in Allentown,

PA. Rashwan sought to purchase the firearm from a Federal Firearms Licensee (“FFL”) that was

selling guns at the show. Rashwan stated on the Form 4473 that his place of birth was Egypt,

that the United States of America was his country of citizenship. He did not state on the form

that he was a citizen of Egypt. He also stated that he was not illegally or unlawfully in the

United States, and that he was not an alien who had been admitted to the United States under a

nonimmigrant visa. He certified that his answers were true, correct, and complete. He signed the

Form 4473 on February 26, 2022, after the certification above the signature line, in which

Rashwan certified that he understands that a person who answers “yes” to 21.1.1, which asks if

you are an alien who has been admitted to the United States under a nonimmigrant visa, is

prohibited from receiving or possessing a firearm. The certification further stated that making

any false oral or written statement or exhibiting any false or misrepresented identification with

respect to the transaction, is a crime punishable as a felony under Federal law. On February 26,

2022, the FFL submitted the Form 4473 to the NICS (National Instant Background Check

System) or the appropriate state agency to complete the background check on Rashwan

regarding the purchase of the Ruger, Model AR556, Serial Number 83996627, rifle, caliber 556.

Although the FFL had not yet heard from NICS or the appropriate state agency denying




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Rashwan’s attempt to purchase the firearm, on February 28, 2022, the FFL indicated on the Form

4473 that the transaction was cancelled.

       19.     Based on Rashwan’s answers on the Form 4473, I submit that probable cause

exists to believe that Rashwan knowingly provided false information by answering on the Form

4473 that he was a United States citizen and that he was not an alien who had been admitted to

the United States under a nonimmigrant visa, in violation of Title 18, United States Code,

Section 924(a)(1)(a). I further submit that Rashwan, being unlawfully or illegal in the United

States due to his overstay of his B-2 visa as set forth in the Notice to Appear served upon him on

November 5, 2018, and having been admitted to the United States under a nonimmigrant visa,

was prohibited from possessing a firearm, and that his attempt to do so violated Title 18, United

States Code, Section 922(g)(5)(A) & (B).

       20.     In my training and experience, I have learned that AT&T Corp., is a company that

provides cellular telephone access to the public. I also know that providers of cellular telephone

service have technical capabilities that allow them to collect and generate at least two kinds of

information about the locations of the cellular telephones to which they provide service: (1) E-

911 Phase II data, also known as GPS data or latitude-longitude data, and (2) cell-site data, also

known as “tower/face information” or “cell tower/sector records.” E-911 Phase II data provides

relatively precise location information about the cellular telephone itself, either via GPS tracking

technology built into the phone or by triangulating on the device’s signal using data from several

of the provider’s cell towers. Cell-site data identifies the “cell towers” (i.e., antenna towers

covering specific geographic areas) that received a radio signal from the cellular telephone and,

in some cases, the “sector” (i.e., faces of the towers) to which the telephone connected. These

towers are often a half-mile or more apart, even in urban areas, and can be 10 or more miles




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apart in rural areas. Furthermore, the tower closest to a wireless device does not necessarily serve

every call made to or from that device. Accordingly, cell-site data provides an approximate

location of the cellular telephone but is typically less precise than other types of location

information, such as E-911 Phase II data or Global Positioning Device (“GPS”) data.

       21.     Based on my training and experience, I know that AT&T Corporation can collect

E-911 Phase II data about the location of the Target Cell Phone, including by initiating a signal

to determine the location of the Target Cell Phone on AT&T Corporation’s network or with such

other reference points as may be reasonably available.

       22.     Based on my training and experience, I know that AT&T Corporation can collect

cell-site data about the Target Cell Phone. Based on my training and experience, I know that for

each communication a cellular device makes, its wireless service provider can typically

determine (1) the date and time of the communication; (2) the telephone numbers involved, if

any; (3) the cell tower to which the customer connected at the beginning of the communication;

(4) the cell tower to which the customer connected at the end of the communication; and (5) the

duration of the communication. I also know that wireless providers such as AT&T Corporation

typically collect and retain cell-site data pertaining to cellular devices to which they provide

service in their normal course of business in order to use this information for various business-

related purposes.

                                 AUTHORIZATION REQUEST

       23.     Based on the foregoing, I request that the Court issue the proposed search warrant,

pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c).

       24.     I further request that the Court direct AT&T Corporation to disclose to the

government any information described in Attachment B that is within its possession, custody, or




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control. I also request that the Court direct AT&T Corporation to furnish the government all

information, facilities, and technical assistance necessary to accomplish the collection of the

information described in Attachment B unobtrusively and with a minimum of interference with

AT&T Corporation’s services, including by initiating a signal to determine the location of the

Target Cell Phone on AT&T Corporation’s network or with such other reference points as may

be reasonably available, and at such intervals and times directed by the government. The

government shall reasonably compensate AT&T Corporation for reasonable expenses incurred in

furnishing such facilities or assistance.

         25.     I further request that the Court authorize the execution of the warrant at any time

of day or night, owing to the potential need to located the Target Cell Phone outside of daytime

hours.

         26.     Under 18 U.S.C. §§ 2703(b)(1)(A) and 2703(c)(3), the government does not have

to notify the subscriber when it obtains a search warrant.




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                                   CERTIFICATION

Mary A. Futcher hereby certifies under penalty of perjury that:

I am an Assistant United States Attorney;

I incorporate the facts set forth in the Affidavit of Special Agent Eddie Garcia II by reference;

I hereby certify that the information likely to be obtained by the requested pen-trap devices is
    relevant to an ongoing criminal investigation being conducted by the Federal Bureau of
    Investigation.

                                                  /s/ Mary A. Futcher_________
                                                  MARY A. FUTCHER
                                                  Assistant United States Attorney
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                                       ATTACHMENT A

                                    Property to Be Searched

       The warrant applies to records and information associated with the cellular telephone

assigned call number (484) 274-9937 (“the Target Cell Phone”), including information about the

location of the Target Cell Phone, that are, or will be, within the possession, custody, or control

of, or that are, or will be, stored at premises controlled by AT&T Corporation headquartered at

the AT&T Global Legal Demand Center, AT&T Corporation, 11760 U.S. Highway 1, North

Palm Beach, FL 33408 (“the Account”).
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                                            ATTACHMENT B
                                      Particular Things to be Seized
I.     Information to be Disclosed by AT&T Corporation
       To the extent that the information described in Attachment A is within the possession,
custody, or control of AT&T Corporation including any information that has been deleted, but is
still available to AT&T Corporation or that has been preserved pursuant to a request made under
18 U.S.C. § 2703(f), AT&T Corporation is required to disclose to the government the following
information pertaining to the Account listed in Attachment A:
       a.         All records and other information (not including the contents of communications)
relating to wire and electronic communications sent or received by the Account, for the time
period beginning 60 days prior to the date of the order and continuing until the date of the order,
including:
                i.          the date and time of the communication, the method of the
communication, and the source and destination of the communication (such as the source and
destination telephone numbers (call detail records)), e-mail addresses, and IP addresses);
              ii.           upon the request of the agent, subscriber information for the Target Cell
Phone, for all numbers called by the Target Cell Phone, and for all numbers calling the Target
Cell Phone;
              iii.          information regarding the cell towers and sectors, including physical
location, through which the communications were sent and received; and
              iv.           information regarding the physical location of the Target Cell Phone,
including but not limited to data indicating the specific latitude and longitude of the Target Cell
Phone, such as enhanced 911 (E-911), mobile locator tool, ping, or any other cellular network
provider specific/proprietary name for location-based service, such as per call measurement data
(PCMD), range to tower (RTT), or Network Event Location System (NELOS).
       b.            AT&T Corporation shall also produce the information listed in paragraphs a. i, a.
ii, and a. iii., above, in an ongoing, real-time fashion for a period of thirty (30) days, at any time
of the day or night.
       c.            AT&T Corporation shall also produce all information about the location of the
Target Cell Phone for a period of thirty (30) days, during all times of day and night.
“Information about the location of the Target Cell Phone includes all available E-911 Phase II




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data, GPS data, latitude-longitude data, other precise location information, and any other cellular
network provider specific/proprietary name for location-based service, such as per call
measurement data (PCMD), range to tower (RTT), or Network Event Location System
(NELOS) (“Location Information”). To the extent that the Location Information is within the
possession, custody, or control of AT&T Corporation, AT&T Corporation is required to
disclose the Location Information to the government. In addition, AT&T Corporation, must
furnish the government all information, facilities, and technical assistance necessary to
accomplish the collection of the Location Information unobtrusively and with a minimum of
interference with AT&T Corporation’s services, including by initiating a signal to determine the
location of the Target Cell Phone on AT&T Corporation’s network or with such other reference
points as may be reasonably available, and at such intervals and times directed by the
government. The government shall compensate AT&T Corporation for reasonable expenses
incurred in furnishing such facilities or assistance. The warrant does not authorize the seizure of
any tangible property. In approving the warrant, the Court finds reasonable necessity for the
seizure of the Location Information. See 18 U.S.C. § 3103a(b)(2).
       d.      The thirty (30) days referred to in paragraphs b. and c. above is measured from
the day on which AT&T Corporation first begins to provide information under the order or ten
(10) days after the order is entered, whichever is earlier.
       e.      The order shall apply on any changed telephone number(s) subsequently assigned
to an instrument bearing the same ESN, IMSI, or SIM as the Target Cell Phone, or any changed
ESN, IMSI, or SIM subsequently assigned to the same telephone number as the Target Cell
Phone, or any additional changed telephone number(s) and/or ESN(s), IMSI(s), or SIM(s),
whether the changes occur consecutively or simultaneously, listed to the same subscriber and
wireless telephone account number as the Target Cell Phone within the thirty (30) day period
authorized by the order.
II.    Information to be Seized by the Government
       All information described above in Section I that is relevant and material to locating a
subject. Such information includes leads relating to: (1) the names of suspected criminal
associates who assist the subject in purchasing/possessing a firearm; (2) the pattern of the
subject’s movements; and (3) the identity of a subject’s usual locations, including houses where
the subject may hide.




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                    CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                     RECORDS PURSUANT TO FEDERAL RULES OF
                            EVIDENCE 902(11) AND 902(13)

        I, _________________________________, attest, under penalties of perjury by the laws
                                  Name
of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in
the certification is true and correct. I am employed by _________________________________
                                                                                  Entity
(hereinafter “the entity”), and my title is _____________________________. I am qualified
                                                                          Title
to authenticate the records attached hereto because I am familiar with how the records were
created, managed, stored, and retrieved. I state that the records attached hereto are true
duplicates of the original records in the custody of the provider. The attached records consist of
___________________________________________________________. I further state that:
               Generally describe records (pages/CDs or DVDs/megabytes)


       a.      all records attached to the certificate were made at or near the time of the
occurrence of the matter set forth by, or from information transmitted by, a person with
knowledge of those matters, they were kept in the ordinary course of the regularly conducted
business activity of the entity, and they were made by the entity as a regular practice; and
       b.      such records were generated by the entity’s electronic process or system that
produces an accurate result; and
       c.      the records were copied from electronic device(s), storage medium(s), or file(s)
in the custody of the entity in a manner to ensure that they are true duplicates of the original
records.
       I further state that the certification is intended to satisfy Rules 902(11) and 902(13) of
the Federal Rules of Evidence.




Date                                           Signature
